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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA          )
                                  )
    v.                            )    CRIMINAL ACTION NO.
                                  )       2:13cr90-MHT
SARA CHILSOM                      )          (WO)


                        OPINION AND ORDER

    Defendant Sara Chilsom is charged with conspiracy to

defraud the United States in violation of 18 U.S.C.

§ 371, mail fraud in violation of 18 U.S.C. § 1341, and

theft of public money in violation of 18 U.S.C. § 641.

This cause is now before the court on the question of

whether Chilsom has the mental capacity to stand trial,

that is, whether she is currently suffering from a mental

disease or defect rendering her mentally incompetent to

the extent that she is unable to understand the nature

and consequences of the proceedings against her or to

assist properly in her defense.          See 18 U.S.C. § 4241(a).

During the hearing held on this date, the parties agreed

to submit the matter to the court for resolution based on
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the    evidence      in   the    record,     without     submission       of

additional evidence.

      Dr. Lisa B. Feldman, Psy.D., a forensic psychologist,

evaluated Chilsom from July to September 2013.                     See 18

U.S.C. § 4241(b).            Dr. Feldman’s September 10, 2013,

report concluded that Chilsom is currently competent to

stand trial.       It stated in relevant part:

            “The defendant does not currently suffer
            from an active mental illness or defect
            that would interfere with her trial
            competency. In addition, Ms. Chilsom
            demonstrated a factual and rational
            understanding of the charges against
            her, an understanding of basic courtroom
            proceedings, and can assist her attorney
            in her own defense, if motivated to do
            so. Therefore, it is the examiner’s
            opinion that Ms. Chilsom be found
            competent to proceed.”

Forensic Evaluation submitted by Dr. Lisa B. Feldman,

Psy.D., dated September 10, 2013 (Doc. No. 270) at 11.

      Based upon the psychological evaluation and pursuant

to 18 U.S.C. § 4241(a), the court finds that Chilsom is

not currently suffering from a mental disease or defect

such that she is unable to understand the nature and

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consequences of the proceedings against her or to assist

properly in her defense.



                                 ***

    Accordingly,      it   is   ORDERED     that    defendant      Sara

Chilsom is declared mentally competent to stand trial in

this cause.

    DONE, this the 17th day of October, 2013.


                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
